               Case 2:22-bk-15437-VZ                                Doc 16 Filed 10/19/22 Entered 10/19/22 14:17:17                                              Desc
                                                                     Main Document    Page 1 of 5

 Fill in this inforrnation to identify your case and this filing

 Debtor 1
                      Lloyd George Brown Jr.
                      Farst   Name          t,tiootu   tt"me----Tffiil-
 Debtor 2
 (Spouse, if             First Name            Middle Name                Last Name



 United States Bankruptcy Court for the: Central District of
 California

 Case number 2:22-bk-L5437
                                                                                                                                                                 D cnecf  if this is
 (if know)                                                                                                                                                         an amended
                                                                                                                                                                   filing

 Official Form l-064/8
 Schedule A/B: ProperQr                                                                                                                                                     T2IL5

 ln each category, separately list and describe items, List an asset only once, lf an asset fits in more than one category, list the asset in the
 category where you think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally
 responsible for supplying correct information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known). Answer every question.

ff,t                Describe Each                              Buildinc. Land. or Other Real Estate You Own or Have an lnterest ln
 1.    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
       !  ruo. eo to Part 2
       @ Yes. Where is the property?

                                                                              what is the property? check        ail that apply
       1.1 1711 Ogden Dr.                                                                                                         Do not deduct secured claims or exemptions. Put the
       -_                                                                     @ Single-family home                                amount of any secured claims on Schedule D:
                                                                             ! Ouplex or multi-unit building                      Creditors Who Have Claims Secured by Ptoperty:

                                                                             ! Condominium or cooperative                         Current value of the       Current value of the
             Los Anoeles        cA      90019                                ! Manufactured or mobile home                        entire property?           portion you own?
             City               srate   zlP code
                                                                             I t-and                                              $ 1,100,000.00             $   1,100,000.00
                                                                             I lnvestment property                                Describe the nature of your ownership
                                                                             I Timeshare                                          interest (such as fee simple, tenancy by the
             Los Anqeles Countv                                              ! otner-                                             entireties, or a life estate), if known.
             County                                                           Who has an interest in the property? check          Fee simole
                                                                              one
                                                                             B      Debtor   l only                               !   Ctreck if this is community property
                                                                             !      Debtor 2 only
                                                                             I      Oebtor 1 and Debtor 2 only
                                                                             I    nt least one of the debtors and another
                                                                              Other information you wish to add about this item, such as local
                                                                              property identif ication number:

  2.   Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
       you have attached for Part 1. Write that number here.                                                                                                          $t10!,000-00

 Parl 2:          Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? lnclude any vehicles
you own that someone else drives. lf you lease a vehicle, also report it on Schedu/e G: Executory Contracts and lJnexpired Leases.

  3.       Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
           Druo
           p)yes




                                                                                                                                                                           page 1 of 5
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      3.1   Make:Datsun                                                Who has an interest in the property? check
                                                                                                                           Do not deduct secured claims or exemptions. Put the
            M odel'                                                                                                        amount of any secured claims onschedu/e D:
            Year:                              1"970                   E|    Debtor   l only                               Creditors Who Have Claims Secured by Property:

            Approximate mileage:                                       !     Debtor 2 only
                                                                                                                             Current value of   the    Current value of the
                Other information:                                     !     oebtor 1 and Debtor 2 only                      entire   property?        portion you own?
              Condition:Fair;                                          !     nt least one of the debtors and another
                                                                                                                            $   1,200.00              $   r_,200.00
                                                                       O     Check if this is community property (see
                                                                       instructions)

      3.2   Make:Plymouth                                              Who has an interest in the property? Check
                                                                                                                           Do not deduct secured claims or exemptions. Put the
            Model:-                                                    one
                                                                                                                           amount of any secured claims onschedule D:
                                                                       g Debtor l only                                     Creditors Who Have Claims Securcd by Property:
            Year:                              1971
            Approximate mileage:                                       E Debtor 2 only                                       Current value of   the    Current value of the
               Other information:                                      ! Oebtor 1 and Debtor 2 only                          entire   property?        portion you own?
              Condition:
                                               -                       E At least one of the debtors and another            $   500.00                $   500.00
                                                                       ! Check if this is community property (see
                                                                       instructions)

  4.   Watercraft, aircraft, motor homes, ATVS and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       EJ no
       !     ves

  -    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                      $ r.,700.00



 Part 3        Describe Your Pensonal and Household ltems

 Do you own or have any legal or equitable interest in any of the following?                                                                         Current value of the
                                                                                                                                                     portion you own?
  6.   Household goods and furnishings                                                                                                               Do not deduct secured
                                                                                                                                                     claims or exemptions.
           Examples: Major appliances, furniture, linens, china, kitchenware
        Eruo
        @ ves.          Describe...

           General household good and furniture including audio and video equipment.                                                                  $   3.000.00
  7.   Electronics
           Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                     collectionsi electronic devices including cell phones, cameras, media players, games

        ENo
        !     ves. Describe...
  B. Collectibles           of value
           Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                     stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

        Elruo
        !     Ves. Describe...
  9.   Equipment for sports and hobbies
           Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                     and kayaks; carpentry tools; musical instruments

        Druo
        @ Ves.        Describe...

           Sporting Equipment                                                                                                                         $   700.00
  10. Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        EJruo
        !     Ves. Describe...




                                                                                                                                                                      page 2 of 5
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   l-1.     Clothes
          Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
          Eruo
          @ Ves.          Describe...

            Clothing                                                                                                                              $   500.00
   12. Jewelry
          Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                    gold, silver

          Druo
          @ Ves.          Describe...

            Jewelry                                                                                                                               $   150.00

   13.      Non-farm animals
            Examples: Dogs, cats, birds, horses

          EJHto
          I    ves, Describe...
   14. Any other personal and household                         items you did not already list, including any health aids you did not list
          EJr.ro
          !    Ves. Give specific information...

 15. Add the dollar value of the portion you                    own for all of your entries from Part 3, including any entries for pages
                                                                                                                                                                  $ 4,350.00




 Pant     4=     Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                     Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
   l-6.   Cash
            Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

          E)ruo
          I    ves                                                                                                            Cash............    $
   17. Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                    and other similar institutions. lf you have multiple accounts with the same institution, list each.

          E    Hro
          pJ Ves..................                             lnstitution name:
          17.1. Checking account:                              Welcome credit Union                                                               $   162.00

          17.2. Savings account:                               Welcome credit Union                                                               $   30.000.00

   18, Bonds,             mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts

          E)ruo
          !    ves........,..,......
   19. lton-publicly   traded stock and interests in incorporated and unincorporated businesses, including an interest in
          an LLC, partnership, and joint venture

          ENo
          !    Ves. Give specific information about them...........
   20.    Government and corporate bonds and other negotiable and non-negotiable instruments
          Negotiable instruments include personal checks, cashiers'checks, promissory notes, and money orders.
          Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          Elruo
          !    Ves. Give specific information about them,...,,....




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  21,        Retirement or pension accounts
             Examples: lnterests in lRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

         Elruo
         !      Ves. List each account separately
  22. Security deposits and prepayments
             Your share of all unused deposits you have made so that you may continue service or use from a company
             Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                       companies, or others

         Elruo
         I      ves...........,.........
  23. Annuities             (A contract for a periodic payment of money to you, either for life or for a number of years)

         EJrrro
         I  ves...............,......
  24. lnterests        in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition
             program.
             26 U.S.c. 55 530(bxl-), s2eA(b), and s2e(b)(1-).

         EJruo
         !      ves......................
  25. Trusts, equitable or future interests in property                       (other than anything listed in line 1), and rights or powers
             exercisable for your benefit

      E)ruo
         fJ
         Yes. Give specific information about them,..
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
             Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

         E)Hro
         !      Ves. Give specific information about them...
  27.    Licenses, franchises, and other general intangibles
             Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

         Elruo
         !     Ves. Give specific information about them...

Money or property owed to you?                                                                                                               Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.
  28.    Tax refunds owed to you

         Eruo
         !     Ves. Give specific information about them, including whether you already filed the returns and the tax years...

                                                                                                                             Federal         $   0.00
                                                                                                                             State:          $   0.00
                                                                                                                             Local:          $   0.00

  29. family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

         EJruo
         !     Ves. Give specific information....

  30.    Other amounts someone owes you
         Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                   Social Security benefits; unpaid loans you made to someone else

         EJruo
         I     Ves. Give specific information....

  31. lnterests            in insurance policies

         ElNo
         !     Ves. Name the insurance company of each policy and list its value....
  32. Any interest in property that                        is due you from someone who has died
         EIrrro
         I     Ves. Give specific information....




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      33. claims against third parties, whether or not you             have filed a lawsuit or made a demand for payment
            EJt'lo
            !   Ves. Give specific information....
      34.    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
             off claims
            EJruo
            !   Ves, cive specific information....
      35.    Any financial assets you did not already list

            EJruo
            !   Ves. Give specific information...

    36.   Add   the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
                                                                                                                                                                     $ 30,t 62"00


t                Describe Any Busines+Related Property You Own or Have an lnterest ln. List any real estate in Part                                        t.
      37.    Do you own or have any legal or equitable interest in any business-related property?

            B   tto. co to Part 6.
            !   ves. Go to line 38.



EE                   Describe Any Farm- and Gommercial Fishing-Related Propertyr You Own or t{ave an tnterest ln.
                     lf vou own or have an interest in farmland, list it in Part 1.

      46.    Do you own or have any legal or equitable interest in any farm. or commercial fishing-related property?

            @   ruo.   co to Part 7,
            !   ves. Go to line 47.


ffi              Describe Alt prooertvyou own or Have an Interest in That You Did Not List Above
      53.    Do you have other property of any kind you did not already list?
            Examples: Season tickets, country club membership

            EJr'lo
            !   Ves. cive specific
                information...

    54.   Add the dollar value of all of your entries lrom Part 7. Write that number     here   .........................................,.,....>
                                                                                                                                                                        $0-00

ffi              List the Totals of Each Part of this Forrn

                                                                                                                                                                  $1,100.000.00
    56.     part z: Total vehicles, line      5                                         $ 1,700.00
    57.     Part g: Total personal and household items, line         15                 $ 4,350.00
    58.     Part +: Total financial assets, line     36                                 $ 30,162.00
    59.     part 5: Total business-related property, lane       45                      $ 0.00
                                            52
    60. Part 0: Total farm- and fishing-related property, line                          $ 0.00
    61.partZ:Totalotherpropertynotlisted,line54                                       + $ 0.00
    62. total personal property. Add lines 56 through 61 ...................            $ 36,212.00                        Copy personal property total>   +$
                                                                                                                                                                36,272.00
    63. Total of all property on Schedule AtB. Add line 55 + line 62                                                                                       $   1,136,212.00




                                                                                                                                                                      page   5 of 5
